           Case 4:12-cr-00014-JPJ                   Document 186 Filed 03/01/13                     Page 1 of 6 Pageid#:
                                                                593                                      CLERZ: OFFICEUa.a sm cour
  AO2458      (Rev.9/1l-VAW Addi
                               tions6/05)JudgmentinaCri
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              Sheet1                                                                                                           FILED

                                     UNITED STATES DISTRICT COURT                                                     MA2 212213
                                                 W estern D istrictofV irginia                               >J:U C.D LEMCœ
                                                                                                                  ;DEPUTYCL
         UNITED STATES0FAMERICA                                       JUDGM ENT IN A CRIM INAL CASE
                           V.                                          Case N um ber: D VAW 412CR000014-002
       TEDDY ROOSEVELT W OM ACK                                        Case N um ber:
                                                                      U SM N um ber: 16713-084
                                                                      Philip G.Garclner,Esq.
                                                                      Defendant'sAttorney
THE DEFENDANT'
             .
Ik pleadedguiltytocountts) 1
(Z)pleadednolocontenderetocountts)                                                                                         .

   whichw asacceptedbythecourt.
(Z)wasfoundguiltyoncountls)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section               NatureofOffense                                                        O ffenseEnded    --           Count
21U.S.C.j 846          ConspiracytoDistributeMoreThanFiveKilogramsofCocaine                              3/26/2012                     1




       Thedefendantissentencedasprovidedinpages2through                      6      ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  Z is Z aredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendptmustnotifytheUnltedStatesattomeyforthisdiltrjctwithin30daysofpnychangeofname,residepce
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                                                                      3/1/2013
                                                                      DateofImposition ofJudgment
                                                                                                                                       j
                                                                             ,                                   N.
                                                                      Signature fJudge



                                                                      Jackson L.Kiser,SeniorUnited StatesDistrictJudge
                                                                      NameandTitleofJudge


                                                                      al11/3
                                                                      Date
            Case 4:12-cr-00014-JPJ                Document 186 Filed 03/01/13               Page 2 of 6      Pageid#:
                                                             594
AO 2458     (Rev.9/11-VAW Additions6/05)Judgmenti
                                                nCriminalCase
            Sheet2 -lmprisonment          (       .ZfLL
                                                                                             Judgment-Page   2   of     6
DEFEND AN T: TEDDY ROOSEVELT W OM ACK
CA SE N UM BER :DVAW 412CR000014-002


                                                          IM PRISONM ENT

       Thedefendantishereby committedtothecustody oftheUnitedStatesBureauofPrisonstobeimprisonedfora
totalterm of:
   78 months.




    X ThecourtmakesthefollowingrecommendationstotheBureauofPrisons;
    thatthedefendantparticipateintheResidentialDrug TreatmentProgram whileimplisoned.



    r-l ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.

    X ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
        r-l at                                  E:I a.fn. r--l p.rn.
        K asnotifiedbytheUnitedStatesMarshal.
    r-I ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
        I-I before             on
        N     asnotifiedbytheUnitedStatesM arshal.
        r-1 asnotifiedbytheProbation orPretrialServicesOffice.


                                                                RETURN
lhaveexecutedthisjudgmentasfollows;




        Defendantdeliveredon

a                                                 ,withacertifiedcopyofthisjudgment.


                                                                                          UNITED STATESMARSHAL

                                                                       By
                                                                                       DEPUTY UNITED STATESMARSHAL
            Case 4:12-cr-00014-JPJ               Document 186 Filed 03/01/13            Page 3 of 6         Pageid#:
                                                            595

AO 2458     (Rev.9/11-VAW Addi
                             tions6/05)JudgmentinaCri
                                                    minalCase
            Sheet3- SupervisedRelemse
                                                                                           Judgment- page   3    of       6
D EFEN D AN T: TEDDY ROO SEVELT W OM ACK
CASE NUM BER:DVAW412CR000014-002
                                                   SU PERVISED RELEA SE
Uponrelease from imprisonm ent,thedefendantshallbe on supervised release foraterm of:
5 years.

         Thedefendantmustreporttotheprobationofficeinthedistricttowhichthedefendantisreleasedwithin72hoursofreleasefrom the
custody oftheBureau ofPrisons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
ThedefendantshallnotunlawfullyppssessacontrolledspbjtancesThedefendantshallreflainfrom anyunlawfuluseofaqontrolled
substance.Thedefepdantshallsubmltto onedrugtestwlthin 15daysofreleasefrom imprlsonmentandatleasttwoperiodlcdrugtests
thereafer,asdetermm edby thecourt.
IZI Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesalow riskof
     futuresubstanceabuse. (Check I
                                  fapplicable.
                                             )
K    Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,fapplicable.
                                                                                                                  )
K ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofticer.(Check,fapplicable.
                                                                                                   )
Z ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotitkationAct(42U.S.C.j16901,etseq.
                                                                                                              )
     asdirected bytheprobation offiger,theBureauofPrisons,orany statesexoffenderregistrationagencyinwhichheorsheresides,
     works,isastudent,orwasconvlctidofaqualifyingoffenàe. (check,fapplicable)
IZI Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(check,fapplicable)
S       lfthisjudgmentimposejafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
 cheduleofPaymentssheetofthlsjudgment.
         Thedefendantmustcomply with the standard conditionsthathavebeen adopted by thiscourtaswellasw ith any additionalconditions
on theattached page.
                                        STA ND AR D CONDITIO NS O F SUPERVISIO N
      thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
      thedefendantshallreporttotheprobationofficerinamannerandfrequency directedbythecourtorprobation officer;
      thedefendantshallanswertruthfully allinquiriesbytheprobationofficerandfollow theinstructionsoftheprobationoftker;
      thedefendantshallsupporthisorherdependentsandmeetotherfam ilyresponsibilities;
      thedefendantshallwork regularly atalawfuloccupation,unlessexcusedby theprobation officerforschooling,training,orother
      acceptablereasons;
      thedefendantshallnotifytheprobationofficeratleasttendayspriortoanychangeinresidenceorem ployment;
      thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,distribute oradpjnisterany
      controlledsubstanceoranyparaphenlallarelatedtoanycontrolledsubstances,exceptasprescribedbylphyslclan;
  s) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,usedsdistributed,oradministered;
  9) f
     thedefendantshallnotassofiatewith any personsengaged incriminalactivity andshallnotassociatewith any person convicted ofa
          elony,unlessgranted perm lssion to do so'
                                                  by theprobatlon officer;
 l0) thedefendantshallpepuitpprqbationofficertoyisithimorheratanytimeathomeorelsewhereandshallpermitconliscation ofany
      contrabandobserved lnplalnvlew oftheprobatlon oftk er;
 11) thedefendantshallnotifytheprobationofficerwithin seventptwohoursofbeingarrestedorquestionedbyalaw enforcementofficer;
 12) thedçfepdantshallnotenterintoanyagreementtoactasan informerora specialagentofa1aw enforcementagencywithoutthe
      permlsslon ofthecourq and

 13) asdirectedbytheprpbationofficerythsdefendantshallnotify thirdpartiesofrisksthatmaybeoccajionedby thedefendant'scriminal
      recordorpersonalhlstoryprcharactqlsticsand shai
                                                    llpermittheprobationofficertomakesuchnotlficationsandtoconfinn the
      defendanfscom pliancewlthsuchnotlficationrequlrement.
           Case 4:12-cr-00014-JPJ              Document 186 Filed 03/01/13                   Page 4 of 6         Pageid#:
                                                          596
 AO 2458    (Rev.9/11-VAW Addi
                             tions6/05)JudgmentinaCriminalCase
            Sheet3C -Supervised Release
                                                                                                Judgm ent-page    4    of       6
 D EFEN DAN T: TEDDY ROOSEVELT W OM ACK
 CA SE NU M BER :DVAW 412CR000014-002

                                      SPEC IA L C O ND ITIO N S O F SU PER V ISIO N
1.Thedefendantshallpayanyspecialassessmentimposedbythisjudgment.
2. Thedefendantshallparticipate in aprogram oftesting and treatm entforsubstance abuse,asapproved by the probation officer,untilsuch
tim easthe defendanthassatisfied allrequirementsoftheprogram .

3.Thedefendantshallresideinaresidencefreeoffirearm s,am munition,destructivedevices,anddangerousweapons.
4. Thedefendantshallsubm itto warrantlesssearch and seizure ofperson and property asdirected by theprobation officer,to determ ine
whetherthedefendantisinpossessionoffireanns,illegalcontrolled substancesandalcohol.
          Case 4:12-cr-00014-JPJ               Document 186 Filed 03/01/13            Page 5 of 6           Pageid#:
                                                          597
AO 2458   (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase
          Sheet5-Crim inalM onetaryPenalties
                                                                                     Judgment-Page      5     of       6
DEFEN DA NT : TEDDY ROOSEVELT W OM ACK
CA SE N UM BER :DVAW 412CR000014-002
                                          CRIM INAL M ONETARY PENALTIES
     Thedefendantm ustpaythetotalcriminalmonetarypenaltiesunderthescheduleofpaymentsonSheet6.

                    Assessm ent                                 Fine                      Restitution
TO TALS          $ 100.00                                   $


Z Thedeterminationofrestitutionisdeferreduntil              .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     ahersuch detenuination.

r-l Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     lfthedefendantmakesapartialpayment,eachpayeeshallreceiveanapproximatelyproportionedpayment,unlessspecifiedotherwise
     inthepriority orderorpercentagepaymentcolumn below.However,pursuantto 18U.S.C j3664(1),al1nonfederal victimsmustbe
     paidbeforetheU nitedStatesispaid.
Nam eofPavee                                       TotalLoss*            RestitutionO rdered           PrioritvorPercentaze




TOTALS                                                          $0.00                          $0.00

Z    Restitutionamountorderedpursuanttopleaagreement$
Z    Thedefendantmustpayinterestonrestitutionandatineofmorethan$2,500,tmlesstherestitutionorfineispaidinfullbeforethe
     tiheenthdayafterthedateofthejudgment,pursuantto12U.S.C.j3612(9.AlIofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto12U.S.C.j3612(g).
Z Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
  (Z1 theinterestrequirementiswaivedforthe ED fine EZI restitution.
  Z theinterestrequirementforthe         fine I
                                              --Irestitutionismodifiedasfollows:


*Findingsforthetotalamountoflossesarerequired underChaptersl09A,110,1IOA,and 113A ofTitle 18foroffensescommitted on
oraûerSeptem ber13,1994,butbeforeApril13,1996.
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                                                                  598
    AO 2458      (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
                 Sheet6-Schedule ofPaym ents
    DEFENDAN T: TEDDY ROOSEV ELT W OM ACK                                                                     Judgm ent-Page 6 of 6
    CASE N UM BER:DVAW 412CR000014-002
                                                     SCH ED ULE O F PA YM EN TS
    Having assessed the defendant'sability to pay,thetotalcrim inalm onetary penaltiesare due irnm ediately andpayable asfollow s:

    A (K Ltuupsum paymentof$100.00           immediately,balancepayable
            I
            Z notlaterthan                        ,or
            EI
             () inaccordance       I
                                   Z C, lq(()D, IZ E, EEIF or,Z Gbelow);or
    B IZ Paymenttobeginimmediately(maybecombinedwith Z C, Z D, (      Z F,or Z G below);or
              Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                  overaperiodof
                           (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)aûerthedateofthisjudgment;or
              Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                  overaperiodof
                           (e.g.,monthsoryears),tocommence                      (e.g.,30 or60days)afterreleasefrom imprisonmenttoa
              term ofsupew ision;or
    E         Paymentduringtheterm ofsupervisedreleasewillcommencewithin                           (e.g.,30or60days)afterreleasefrom
               imprisonment.Thecourtwillsetthepaymentplan basedonanassessmentofthedefendant'sability topay atthattim e;or
    y ('
       7 Duringtheterm ofimprisonment,paymentinequal                               (e.g.,weekly,monthly,quarterly)installmentsof
              $               ,or         % ofthedefendant'sincome,whicheveris greater =tocommence                    (e.g.,30or
              60days)afterthedateofthisjudgment;AND paymentinequal                       (e.g.,weekly,monthly,quarterly)
              installmentsof$                duringtheterm ofsupervisedrelease,tocommence                     (e.g.,30or60 days)
              aherrelease from imprisonm ent.
    G r-) Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:


    Any installmentscheduleshallnotprecludeenforcementoftherestimtion orfineorderbytheUnitedStatesunder18U.S.C jj3613and
    3664(n9.
    Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimedlzringtheperiodofimprisonmentorsupervision,andthedefendant
    shallnotify theprobation officerand theU.S.Attorney ofany change in the defendant'
                                                                                     seconom ic circum stancesthatmay affectthe
    defendant'sability to pay.
'
    Al1crim inalm onetarypenaltiesshallbemadepayabletotheClerk,U .S.DistrictCourt,P,O.Box 1234,Roanoke,Virginia24006,for
    disbursem ent.
    Thedefendantshallreceivecreditforallpaym entspreviouslymadetow ardanycriminalmonetarypenaltiesimposed.
    Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitmionhasbeenorwillbe
    entered.
        Z JointandSeveral
           DefendantandCo-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
           corresponding payee,ifappropriate.




        Z Thedefendantshallpaythecostofprosecution.
        I
        Z Thedefendantshallpaythefollowingcourtcostts):
        E11Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:



     Paymentsshallbeappliedinthefollowing order:(1)assessment,(2)restitutionprincipal,(3)restitution interest,(4)fineprincipal,
     (5)fineinterest,(6)communityrestimtion,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
